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  8                      UNITED STATES DISTRICT COURT
  9                    CENTRAL DISTRICT OF CALIFORNIA
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 11   BENNETT TAYLOR GORS,                    Case No. EDCV 19-2395-JWH (LAL)
 12                               Petitioner, ORDER ACCEPTING REPORT
                                              AND RECOMMENDATION OF
 13                     v.                    UNITED STATES MAGISTRATE
                                              JUDGE
 14   S. FRAUEMHEIM,
 15                             Respondent.
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Case 5:19-cv-02395-JWH-LAL Document 17 Filed 09/29/21 Page 2 of 2 Page ID #:971




  1         Pursuant to 28 U.S.C. § 636, the Court has reviewed the Petition, the
  2   Magistrate Judge’s Report and Recommendation, and the remaining record, and
  3   has made a de novo determination.
  4         Accordingly, it is ORDERED that:
  5         1.    The Report and Recommendation is approved and accepted;
  6         2.    Judgment be entered denying the Petition and dismissing this action
  7   with prejudice; and
  8         3.    The Clerk serve copies of this Order on the parties.
  9         IT IS SO ORDERED.
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 11   DATED: September 29, 2021
 12                                         HONORABLE JOHN W. HOLCOMB
                                            UNITED STATES DISTRICT JUDGE
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